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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA,                   )   CASE NO. 1:94CR068
                                            )
      Plaintiff - Respondent,               )   JUDGE CHRISTOPHER A. BOYKO
                                            )
          v.                                )
DAVID CLEMENTS,                             )
                                            )
      Defendant - Petitioner.               )   AMENDED ORDER OF RESTITUTION


      On March 15, 1994, a Superseding Indictment was filed against Defendant,

David Clements, charging violations of: 18 U.S.C.§ 2113, Armed Bank Robbery, Counts

1,5, and 9; 18 U.S.C.§ 924 Use of Firearm During Crime of Violence, Counts 2,6,10,16;

and 18 U.S.C.§ 371 Conspiracy to Commit Armed Bank Robbery, Count 15. On March

16, 1994, Defendant was arraigned and plead not guilty to each named Count.

      On July 26, 1994, a jury trial commenced before the Honorable Paul R. Matia,

United States District Court Judge. On August 10, 1994, the jury returned guilty verdicts

as to Counts 1,2,5,6,9,10,15 and 16; and not guilty verdicts as to Counts 3 and 4. The

Defendant was sentenced to: 108 months as to Counts 1,5,9, and 15 and 65 years as to

Counts 2,6,10 and 16 to run consecutive to Counts 1,5,9, and 15; 5 years Supervised

Release; Restitution of $55,659.00 payable to National City Bank; and a Special
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Assessment of $400.00.

       On September 8, 2008, the Defendant filed “Motion to Amend Sentencing

Judgment Restitution Order And/Or Set “Specific” Payment Plan/Schedule,” ECF Doc.

No. 458.

       The Judgment and Commitment Order filed November 18, 1994 orders

Restitution of $55,659.00 payable to National City Bank and “Restitution shall be paid

if Defendant is employed while incarcerated,” (Judgment and Commitment Order,

Page 41). Further, as a condition of Supervised Release, the Judgment and

Commitment Order states, “If this judgment imposes a fine, special assessment,

costs, or restitution obligation, it shall be a condition of supervised release that

the Defendant pay any such fine, assessments, costs and restitution that remain

unpaid at the commencement of the term of supervised release” (Judgment and

Commitment Order, Page 3).

       The Court grants Defendant’s motion and amends the previously filed Judgment

and Commitment Order regarding Restitution to:

       “The Defendant shall pay 25% of his gross income per month, through the

Federal Bureau of Prisons Inmate Financial Responsibility Program. If a

restitution balance remains upon release from imprisonment, payment is to

commence no later than 60 days following release from imprisonment to a term of

supervised release at 10% of Defendant’s gross monthly income during the term

of supervised release and thereafter as prescribed by law.


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  Copy of Judgment and Commitment Order filed November 18, 1994 attached.

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      Notwithstanding establishment of a payment schedule, nothing shall

prohibit the United States from executing or levying upon property of the

Defendant discovered before and after the date of this Amended Judgment.”



      IT IS SO ORDERED.




                                     s/Christopher A. Boyko
                                     Christopher A. Boyko
                                     United States District Court Judge



September 26, 2008




                                        3
